                                                                    (SPACE BELOW FOR FILING STAMP ONLY)
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 1        ROGER T. NUTTALL #42500
           NUTTALL & COLEMAN
 2               2445 Capitol Street, Suite 150
                     FRESNO, CA 93721
 3                  PHONE (559) 233-2900
                     FAX (559) 485-3852
 4
 5     ATTORNEYS FOR  Defendant,
                   JASDEV SINGH
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 7
 8                                 UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10                                                * * * * * * * *
11   UNITED STATES OF AMERICA,                            Case No.: 1:08-CR-000212 OWW
12                 Plaintiff,
13         vs.                                            STIPULATION RE: CONTINUANCE
                                                                         OF SENTENCING
14   JASDEV SINGH,
                                                                        And
15                 Defendant.
                                                                    O R D E R
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          IT IS HEREBY STIPULATED by and between the parties herein
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     that the Sentencing currently scheduled for January 10, 2011, at
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     9:00 a.m. be continued to February 28, 2011, at 9:00 a.m. before
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     the Honorable OLIVER W. WANGER.
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          Counsel requests this continuance due to the fact that there
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     are still issues which counsel needs to clarify as related to the
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     pending defense Motion to Dismiss.                     The additional time is
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     necessary to address these issues adequately and thoroughly.
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          For the past three (3) weeks, counsel has been in a trial in
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     the Fresno County Superior Court.                     The Closing Arguments are due
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     to be done on Tuesday, January 4, 2011.                        Additionally,
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 1   attorney for Defendant is currently in preparation for a civil
 2   trial which is scheduled to begin on Tuesday, January 11, 2011,
 3   before the Fresno County Civil Service Commission which is
 4   expected to last for several days.        Counsel sought a continuance
 5   of the said civil matter, but the motion was denied.
 6        Counsel’s staff has been in touch with Ms. Karen Escobar of
 7   the United States Attorney’s Office, who has no objection to such
 8   a continuance so long as it stays the date of filing of the
 9   Government’s response, which it will.
10        It is your Declarant’s opinion that a continuance such as
11   requested shall not prejudice any party concerned with this
12   matter.
13        DATED: January 4, 2011.
14                                            NUTTALL & COLEMAN
15                                            By:    /s/ Roger T. Nuttall
                                                    ROGER T. NUTTALL
16                                                  Attorneys for Defendant
                                                    JASDEV SINGH
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18
          DATED: January 4, 2011.
19
                                              By: /s/ Karen Escobar
20                                                KAREN ESCOBAR
                                                  Assistant U.S. Attorney
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 1
                                    O R D E R
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 3        Good cause appearing,
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          IT IS ORDERED that the Sentencing currently scheduled
 5
     on January 10, 2011, at 9:00 a.m. is continued to February 28,
 6
     2011, at 9:00 a.m.
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 8   IT IS SO ORDERED.
 9   Dated: January 5, 2011                 /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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